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  SCHEDULE
     A
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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved May 5, 2017, as Public Law 115-31,

div. F, tit. VI, 131 Stat. 135, which appropriated the funds that shall be used for the taking.
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  SCHEDULE
      B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said properties are taken is to construct, install,

operate, and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors,

and related structures designed to help secure the United States/Mexico border within the

State of Texas.
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  SCHEDULE
     C
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                                     SCHEDULE C

                                LEGAL DESCRIPTION

                                 Hidalgo County, Texas

Tract: RGV-MCS-4038 and_MCS-4038E-5
Owner: City of Hidalgo
Acres: 8.059

Tract: RGV-MCS-4038:

BEING a 7.844 acre tract (341,684 square feet) parcel of land, more or less, being out of
a called 30.02 acre tract, recorded in Document No. 711948, Official Records of Hidalgo
County (O.R.H.C.), Texas, conveyed to the City of Hidalgo, TX, said 7.273 acre (316,801
square feet) parcel of land being more particularly described as follows;

COMMENCING at a found U.S. Fish and Wildlife Service cap stamped “TR354 Cor
26” being the southeast corner of a surveyed 21.195 acre tract, recorded in Volume 975,
Page 323, Deed Records of Hidalgo County (D.R.H.C.), Texas, conveyed to the City of
McAllen, said point having a coordinate of N=16560488.367, E=1060700.822, said point
being an angle point on the north line of said City of Hidalgo tract, and said point being
on the south line of a levee easement (1110-H), recorded in Volume 1268, Page 68, Deed
Records of Hidalgo County (D.R.H.C.), Texas, conveyed to the United States of America;

THENCE: S 80°36’08” W, along the south line of said City of McAllen tract, the north
line of said City of Hidalgo tract, and the south line of said levee easement (1110-H), a
distance of 299.89 feet to a found 1/2" rebar for an angle point;

THENCE: S 82°27’26” W, along the south line of said City of McAllen tract, the north
line of said City of Hidalgo tract and the south line of said levee easement (1110-H), a
distance of 390.01 feet to a set 5/8” rebar with a “B&F Engineering, Inc.” aluminum cap
stamped “RGV-MCS-4038-1” for the POINT OF BEGINNING and having a
coordinate of N=16560388.202, E=1060018.322, said point being on the south line of
said City of McAllen tract and the said north line of the City of Hidalgo tract and the
south line of levee easement (1110-H), said point being the northeast corner of the herein
described proposed acquisition tract, said point being N 09°08’03” E, a distance of
111.25 feet from United States Corps of Engineers Control Point No. H132;
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                                SCHEDULE C (Cont.)

THENCE: S 09°17’46” E, departing the south line of the said City of McAllen tract, the
north line of said City of Hidalgo tract, the south line of said levee easement (1110-H),
and along the toe of said levee, a distance of 104.60 feet to an angle point;

THENCE: S 08°29’37” E, along said toe of levee, a distance of 80.66 feet to an angle
point;


THENCE: S 11°54’36” E, along said toe of levee, a distance of 83.89 feet to a set 5/8”
rebar with a “B&F Engineering, Inc.” aluminum cap stamped “RGV-MCS- 4038-2” for a
point of curvature;


THENCE: along a curve to the left having a radius of 106.38 feet, an arc length of 105.89
feet and a central angle of 57°02’11”, with a chord bearing of S 62°42’07” E and a chord
distance of 101.58 feet to a set 5/8” rebar with a “B&F Engineering, Inc.” aluminum cap
stamped “RGV-MCS-4038-3” for a point of tangent;

THENCE: N 80°08’03” E, along said toe of levee, a distance of 223.03 feet to an angle
point;

THENCE: N 77°55’12” E, along said toe of levee, a distance of 128.70 feet to an angle
point;

THENCE: N 80°59’59” E, along said toe of levee, a distance of 200.68 feet to an angle
point;

THENCE: N 79°38’26” E, along said toe of levee, a distance of 260.94 feet to an angle
point;

THENCE: N 83°38’15” E, along said toe of levee, a distance of 111.84 feet to an angle
point;

THENCE: N 80°32’10” E, along said toe of levee, a distance of 397.80 feet to an angle
point;

THENCE: N 81°19’07” E, along said toe of levee, a distance of 358.94 feet to an angle
point;
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                                 SCHEDULE C (Cont.)

THENCE: N 83°05’29” E, along said toe of levee, a distance of 81.89 feet to a point of
curvature;

THENCE: along a curve to the right having a radius of 192.00 feet, an arc length of
107.10 feet and a central angle of 31°57’31”, with a chord bearing of S 78°28’01” E and
a chord distance of 105.71 feet to a point of tangent;

THENCE: S 66°42’09” E, along said toe of levee, a distance of 233.93 feet to an angle
point;

THENCE: S 65°44’29” E, along said toe of levee, a distance of 71.85 feet to a point of
curvature;

THENCE: along a curve to the left having a radius of 131.44 feet, an arc length of 106.44
feet and a central angle of 46°23’50”, with a chord bearing of S 86°44’37” E and a chord
distance of 103.56 feet to a point of tangent;

THENCE: N 59°08’35” E, along said toe of levee, passing at 120.01 feet the west line of
a levee easement (1114-H), recorded in Volume 1293, Page 686, Deed Records of Hidalgo
County (D.R.H.C.), Texas, conveyed to the United States of America, in total a distance
of 167.65 feet to a set 5/8” rebar with a “B&F Engineering, Inc.” aluminum cap stamped
“RGV-MCS-4038-4” for the northeast corner of the herein described proposed acquisition
tract;

THENCE: N 86°30’09” E, along said toe of levee, a distance of 44.40 feet to a set 5/8”
rebar with a “B&F Engineering, Inc.” aluminum cap stamped “RGV-MCS-4038-5” for an
angle point;

THENCE: S 64°58’51” E, along said toe of levee, a distance of 59.88 feet to a set 5/8”
rebar with a “B&F Engineering, Inc.” aluminum cap stamped “RGV-MCS- 4038-6” for
the southeast corner of the herein described proposed acquisition tract, said point being
on the south line of said City of Hidalgo tract and the north line of a called 471.14 acre
tract, recorded in Document No. 107227, Official Records of Hidalgo County
(O.R.H.C.), Texas, conveyed to the United States of America (US Fish and Wildlife
Service, Tract 354);

THENCE: S 51°55’53” W, departing said toe of levee and along the south line of said
City of Hidalgo tract and the north line of said Tract 354, passing at 53.48 feet the toe of
wall and at 82.83 feet the west line of said levee easement (1114-H), in total a distance
of 298.71 feet to a found 1/2” rebar designated “RGV-MCS-4038-7” for an outer corner
of the herein described proposed acquisition tract;
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                                 SCHEDULE C (Cont.)

THENCE: N 68°26’05” W, along the south line of said City of Hidalgo tract and the
north line of said Tract 354, passing at 20.35 feet the northwest corner of said Tract 354
and the northeast corner of a called 16.71 acre tract, recorded in Document No. 106881,
Official Records of Hidalgo County (O.R.H.C.), Texas, conveyed to the United States of
America (US Fish and Wildlife Service, Tract 354-II), passing at 436.27 feet the
northwest corner of said Tract 354-II and the northeast corner of a called 48.57 acre tract,
recorded in Document No. 107227, Official Records of Hidalgo County (O.R.H.C.),
Texas, conveyed to the United States of America (US Fish and Wildlife Service, Tract
354-a), in total a distance of 501.57 feet to a found 1/2” rebar designated “RGV-MCS-
4038-8” for an angle point;

THENCE: S 80°18’41” W, along the south line of said City of Hidalgo tract and the north
line of said Tract 354-a, a distance of 500.00 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap stamped “RGV-MCS-4038-8A” for a point on tangent;

THENCE: S 80°18’41” W, along the south line of said City of Hidalgo tract and the north
line of said Tract 354-a, a distance of 500.00 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap stamped “RGV-MCS-4038-8B” for a point on tangent;

THENCE: S 80°18’41” W, along the south line of said City of Hidalgo tract and the
north line of said Tract 354-a, a distance of 500.00 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap stamped “RGV-MCS-4038-8C” for a point on tangent;

THENCE: S 80°18’41” W, along the south line of said City of Hidalgo tract and the
north line of said Tract 354-a, a distance of 488.61 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap stamped “RGV-MCS-4038-9” for the southwest corner
of the herein described proposed acquisition tract;

THENCE: N 59°51’19” W, departing the south line of said City of Hidalgo tract and the
north line of said Tract 354-a, a distance of 105.43 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap stamped “RGV-MCS-4038-10” for an angle point;

THENCE: N 09°28’02” W, a distance of 100.00 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap stamped “RGV-MCS-4038-10A” for an angle point;

THENCE: N 09°28’02” W, a distance of 271.16 feet to a set 5/8” rebar with a “B&F
Engineering, Inc.” aluminum cap stamped “RGV-MCS-4038-11=RGV-O- 6B/C_6-2”
for the northwest corner of the herein described proposed acquisition tract, said point
being on the north line of said City of Hidalgo tract, the south line of said City of
McAllen tract, and the south line of said levee easement (1110-H);
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                                 SCHEDULE C (Cont.)

THENCE: N 82°27’26” E, along the north line of said City of Hidalgo tract, the south
line of said City of McAllen tract and the south line of said levee easement (1110-H),
passing at 150.07 feet the toe of wall, in total a distance of 209.57 feet to the POINT OF
BEGINNING and containing 7.844 acres (341,684 square feet) of land, more or less.

Note: All bearings, distances and coordinates are referenced to the Texas State Plane
coordinate system, south zone grid (SPC S4205) NAD’83. Values may be converted to
ground values using a scale factor of 1.000040000.

Tract RGV-MCS-4038E-5

BEING a 0.215 acre tract (9389 square feet) parcel of land, more or less, being out of a
called 30.02 acre tract, recorded in Document NO 711948, Official Records of Hidalgo
County (O.R.H.C.), Texas, conveyed to the City of Hidalgo, TX, said 0.215 acre (9389
square feet) parcel of land being more particularly described as follows;

BEGINNING at the POB for the 2010 adjoining easement survey MCS-4013E-1 said
point being on the north line of that certain levee easement conveyed to the United States
of America, being of record in Volume 2107, Page 434 of the Deed Records of Hidalgo
County, Texas, from said point a brass disc set in concrete stamped DEC015 bears South
02-15-15 East, a distance of 32.92 feet, having a Texas Coordinate System 1983, South
Zone Grid Coordinates of Northing: 16560532.713, Easting: 1060866.182;

THENCE: following the north side of the existing levee road across lands owned by the
County of Hidalgo TX a direction of N 81-07-47 E for a distance of 246.38 feet to a
corner

THENCE S 07-15-49 E to the south east corner of this easement for a total
distance of 39.08 feet

THENCE following the south side of said levee S 81-56-18 W for a distance of
223.34 feet to the South West corner of this easement.

THENCE, N 40-19-22 W a distance the existing road and returning to the point of
Beginning

CONTAINING 0.215 acres (9,389 square feet), more or less.

Note: All bearings, distances and coordinates are referenced to the Texas State Plane
coordinate system, south zone grid (SPC 4205) North American Datum of 1983 (NAD83)
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   SCHEDULE
       D
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                             SCHEDULE D

                             MAP or PLAT

                      LAND TO BE CONDEMNED
Tract: RGV-MCS-4038_MCS-4038E-5




Owner: City of Hidalgo
Acres: 8.059
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                         SCHEDULE D (Cont.)




Tract: RGV-MCS-4038_MCS-4038E-5
Owner: City of Hidalgo
Acres: 8.059
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                         SCHEDULE D (Cont.)




Tract: RGV-MCS-4038_MCS-4038E-5
Owner: City of Hidalgo
Acres: 8.059
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                         SCHEDULE D (Cont.)




Tract: RGV-MCS-4038_MCS-4038E-5
Owner: City of Hidalgo
Acres: 8.059
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                         SCHEDULE D (Cont.)




Tract: RGV-MCS-4038_MCS-4038E-5
Owner: City of Hidalgo
Acres: 8.059
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                         SCHEDULE D (Cont.)




Tract: RGV-MCS-4038_MCS-4038E-5
Owner: City of Hidalgo
Acres: 8.059
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                         SCHEDULE D (Cont.)




Tract: RGV-MCS-4038_MCS-4038E-5
Owner: City of Hidalgo
Acres: 8.059
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                             SCHEDULE D

                             MAP or PLAT

                       LAND TO BE CONDEMNED




Tract: RGV-MCS-4038_MCS-4038E-5
Owner: City of Hidalgo
Acres: 8.059
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    SCHEDULE
        E
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                                      SCHEDULE E
                                       Estate Taken
                                  Hidalgo County, Texas


Tract: RGV-MCS-4038_4038E-5
Owner: City of Hidalgo, Texas
Acres: 8.059

Tract RGV-MCS-4038


       The estate acquired is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to the mineral interests of
third parties; excepting and reserving to the Grantor all interests in minerals and
appurtenant rights for the exploration, development, production and removal of said
minerals;
       Reserving to the owners of lands described in Document No. 711948, Official
Records of Hidalgo County, Texas (“O.R.H.C.”), reasonable access to and from the
owners’ lands lying between the Rio Grande River and the border barrier through
opening(s) or gate(s) in the border barrier between the westernmost mark labeled
“Beginning” and easternmost mark labeled “Ending” depicted on the map below;
       Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights or
systems are subordinated to the United States’ construction, operation, and maintenance of
the border barrier.
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                          SCHEDULE E (Cont.)
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                                  SCHEDULE E (Cont.)
                                        Estate Taken
                                   Hidalgo County, Texas


Tract: RGV-MCS-4038_4038E-5
Owner: City of Hidalgo, Texas
Acres: 8.059

Tract: RGV-MCS-4038E-5


         A non-exclusive, perpetual and assignable easement and right-of-way in, on, over,
under and across the land described in Schedule C, for use by the United States, its
representatives, agents, and contractors, for the location, construction, operation,
maintenance, alteration and replacement of a road and aboveground and/or underground
utility lines and appurtenances thereto; together with the right to trim, cut, fell and remove
any vegetative or structural obstacles that interfere with the right-of-way; subject to
existing easements for public roads and highways, public utilities, railroads and pipelines,
if any; reserving however, to the owners, their heirs and assigns, the right to use the surface
of such land as access to their adjoining land or for any other use consistent with its use as
a road and utility easement.
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    SCHEDULE
        F
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                                     SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



    The sum estimated as just compensation for the lands being taken is SIXTY FIVE

THOUSAND, EIGHT HUNDRED AND FORTY DOLLARS AND NO/100 ($65,840.00),

to be deposited herewith in the Registry of the Court for the use and benefit of the persons

entitled thereto.




TRACT RGV-MCS-4038:
The sum estimated as just compensation for the land acquired is SIXTY
FOUR THOUSAND, FOUR HUNDRED AND NINETY DOLLARS AND 00/100
($64,490.00).


TRACT RGV-MCS-4038E-5:
The sum estimated as just compensation for the land acquired is ONE
THOUSAND, THREE HUNDRED AND FIFTY DOLLARS AND 00/100
($1,350.00).
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     SCHEDULE
        G
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                                     SCHEDULE G

                                INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s
property interest(s) as indicated by references in the public records and any other
information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                             Reference
 City of Hidalgo                              RGV-RGC-4038_4038E-5
 c/o City Manager, Julian Gonzalez            Correction Special Warranty Deed,
 704 East Ramon Ayala Drive                   Document # 1998-711948;
 Hidalgo, TX 78557                            Recorded September 23, 1998,
                                              Deed Records of Hidalgo County

                                              RGV-RGC-4038_4038E-5
                                              Special Warranty Deed,
                                              Document # 1993-339040;
                                              Recorded August 17, 1993,
                                              Deed Records of Hidalgo County
